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                 EXHIBIT B
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                                 In the Matter Of:

                  In Re - Paraquat Products Liability Litigation




                                MARTIN WELLS
                               November 08, 2022
   In Re
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      3:21-md-03004-NJR                Litigation
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